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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF ARIZONA
  United States of America                                         CRIMINAL COMPLAINT
  v.                                                           CASE NUMBER: 24-4194 MJ CDB

  Felipe Arturo Avalos-Mejia
          (a.k.a. “Raul Soto Meija”; “Pollo”;
          “Felipe Arturo Avalos-Mexia”;
          “Manuel Zamorano-Rameriz”; and
          “Manuel Martinez”)


       I, the undersigned complainant, being duly sworn, state that the following is true and correct to
the best of my knowledge and belief:
       On or about the date described in Attachment A in the County of Coconino in the District of
Arizona and elsewhere, the defendant committed the crime of Possession or Receipt of Goods Stolen
from Interstate Shipment, Aid and Abet, in violation of Title 18, United States Code (U.S.C.) §§ 659
and 2, offense described as follows:
       See Attachment A, Description of Count
       I further state that I am a Special Agent for Homeland Security Investigations (HSI) and that
this complaint is based on the following facts:
       See Attachment B, Statement of Probable Cause, Incorporated by Reference Herein.
       Continued on the attached sheet and made a part hereof:          ‫܈‬Yes               ‫ ܆‬No
                                                                    Digitally signed by
                                                                    ADDISON OWEN
                                                                    Date: 2024.06.23 14:26:49
AUTHORIZED BY: Addison Owen, AUSA                                   -07'00'




                                                                                           06-23-2024
Chris Foster, SA for HSI
Name of Complainant                                             Signature of Complainant

Sworn to telephonically before me
June 23, 2024                                            at     Flagstaff, Arizona
Date                                                            City and State
                                                                Camille D.                      Digitally signed by
                                                                                                Camille D. Bibles
HONORABLE CAMILLE D. BIBLES
United States Magistrate Judge                                  Bibles                          Date: 2024.06.23
                                                                                                16:33:05 -07'00'
Name & Title of Judicial Officer                                Signature of Judicial Officer
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                                    ATTACHMENT A
                                DESCRIPTION OF COUNT
                                         COUNT 1
                              Theft from Interstate Shipment

      On about and between June 8, 2023 and June 21, 2024, in the District of Arizona and
elsewhere, Defendant FELIPE ARTURO AVALOS-MEJIA knowingly aided and abetted
known and unknown individuals in the possession of goods and chattels, to wit: Nike Shoes,
of a value in excess of $1000.00, which had been stolen from a Burlington Northern Santa Fe
train while moving in interstate commerce from California to Arizona, knowing the said goods
and chattels to be stolen.
       All in violation of Title 18, United State Code, Sections 659 and 2.
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                                    ATTACHMENT B

                         STATEMENT OF PROBABLE CAUSE

      I, Chris Foster, a Special Agent for Homeland Security Investigations (HSI), being
duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND
          1.    I am a Special Agent with HSI and have been so employed since December
1997. I have a Bachelor of Science in Criminal Justice from California State University
Sacramento. I am a law enforcement officer of the United States, and I am empowered
by law to conduct criminal investigations, make arrests, and serve search and arrest
warrants.
          2.    As a Special Agent with HSI, your Affiant investigates criminal violations
of United States law, including import and export violations, controlled substances law
violations, and money laundering violations. Your Affiant has participated in hundreds of
investigations involving stolen vehicle organizations, theft ring investigations, possession,
manufacture, distribution, and importation of controlled substances, as well as methods
used to finance drug transactions. As an HSI Special Agent, your Affiant has been trained
in conducting narcotics and money laundering investigations and received specialized
training concerning violations of the Controlled Substances Act contained within Title 21
of the United States Code. I am currently assigned to the HSI Flagstaff Office located in
Flagstaff, Arizona, where we investigate transnational criminal organizations to include
money laundering and drug trafficking organizations operating throughout the United
States.
          3.    By virtue of my employment as a Special Agent, your Affiant has performed
various tasks, which include, but are not limited to:
               a. functioning as a surveillance agent, thus observing and recording
                  movements of persons involved in violations of United States Code as
                  well as violations of Arizona State law;
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             b. interviewing witnesses, confidential reliable informants (CIs) and sources
                 of information (SOI) relative to the violations of United States Code as
                 well as violations of Arizona State law;
             c. functioning as a case agent, entailing the supervision of specific
                 investigations involving various crimes throughout the United States; and
             d. conducting complex investigations involving transnational criminal
                 organizations committing various crimes throughout the United States.
        4.     I have consulted with other experienced investigators concerning the
practices of transnational criminal organizations and the best methods of investigating
them. In preparing this affidavit, I have conferred with other Special Agents and law
enforcement officers. Furthermore, I have personal knowledge of the following facts or
have learned them from the individual(s) mentioned herein.
        5.     Based on the below facts, your Affiant submits there is probable cause that
Felipe Arturo AVALOS-MEJIA committed the crime of Possession or Receipt of Goods
Stolen from Interstate Shipment, Aid and Abet, in violation of Title 18, United States Code
(U.S.C.) §§ 659 and 2.
                                       BACKGROUND
        6.     Over the past fifteen years, several Transnational Criminal Theft
Organizations have been burglarizing Burlington Northern Santa Fe (BNSF) Railway as
well as Union Pacific trains throughout the Southwest of the United States to include
Arizona. These organizations consist primarily of Mexican citizens from the Mexican
State of Sinaloa who operate out of Arizona and California, with extensive connections
throughout California, Arizona, and New Mexico. The train burglaries have increased in
frequency over the past two years.
        7.     The suspects usually scout high value containers on the BNSF railway on
Eastbound trains that parallel Interstate 40 near Needles, California. Once the organization
targets a particular train of interest, they typically find a location for several train burglars
to get on the train. Once on the train, the burglars open container doors while the train is
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moving and target merchandise to steal such as electronics, tools, and footwear. The
burglars often target containers with visible high-security locks and use reciprocating
saws, bolt-cutters, or similar tools to defeat the locking mechanisms. Once the burglars
target a specific container that has desirable merchandise, the burglars on the train
communicate with follow vehicles utilizing cellular devices, and those follow vehicles
surveil the train until it stops, or the burglars will cause the train to stop to unload the freight.
The suspects often cut the train braking system air hose, which causes the train to go into
an emergency stop (commonly referred to as “UDE”), which is a sudden and dramatic
application of all the brakes on the train. By cutting an air hose, the burglars can control
when and where the train is stopped to unload the cargo they target to burglarize. This act
is very dangerous and can cause a train to derail, which could ultimately cause serious
injury or death to BNSF employees or citizens. The suspects have also sabotaged the train
signal system by cutting the locks off signal boxes and then by cutting the control wires
inside. This is also a dangerous act that creates dark areas on the rail network, requiring
non-traditional train dispatching functions and extensive repairs. High-value trains travel
at speeds up to 70 MPH on multiple tracks in both east and west directions. The train
crews and train dispatchers rely on the signals for safe transportation.
        8.     Once the burglars unload the merchandise from the container that is on the
train, the burglars often hide the product in fields or brush adjacent to the BNSF tracks to
conceal it until it can be picked up later. The location of the stolen merchandise is then
shared by the train burglars with the use of cellular devices to the surveillance crew who
are following the train. The organization will then send box trucks to pick up the stolen
merchandise if law enforcement is not detected. The box trucks used by the organization
often were found to have been stolen with their Vehicle Identification Number (VIN)
swapped. Once the stolen merchandise has been picked up, it is usually transported to
California where it is sold or fenced to wholesale online retailers such as third-party
Amazon and eBay resellers.
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                             CURRENT INVESTIGATION
       9.    Felipe Arturo AVALOS-MEJIA, known as “Pollo,” is currently operating as
a coordinator for a Transnational Criminal Theft Organization operating out of Phoenix,
Arizona, and Los Angeles, California. Based on prior and re-occurring law enforcement
contact as far back as 2016, it is believed that AVALOS-MEJIA has been involved in
burglarizing BNSF trains for over eleven years. Presently, AVALOS-MEJIA controls
crews that have been burglarizing BNSF Eastbound Trains and stealing millions of dollars
of merchandise each year while the trains are in route from Needles, California, in the
Central District of California, to Northern Arizona, in the District of Arizona.
       10. AVALOS-MEJIA is a citizen of Mexico and present in the United States
illegally. AVALOS-MEJIA has been charged with illegal re-entry into the United States
at least three times. AVALOS-MEJIA is also known to use multiple aliases, to include
Raul Soto-Meija, Pollo, Felipe Arturo Avalos-Mexia, Manuel Martinez, and Manuel
Rameriz. AVALOS-MEJIA has a full extradition warrant, in the name Raul Soto-Meija,
out of the District of Nevada for illegal re-entry (19-CR-00092-APG(PAL)).
       11. AVALOS-MEJIA is believed to reside at or use addresses at 1451 Tremont
Street, 1452 Tremont Street, 1453 Tremont Street, 1455 Tremont Street, 1456 Tremont
Street, and 2119 Raymond Street, in Los Angeles, California.
       12. In reviewing law enforcement wire transfer records, agents learned
AVALOS-MEJIA has made several wire transfers to Mexico from the United States using
several of his known aliases, to include Manuel Martinez, Manuel Rameriz, and other
variations with the first name Manuel.
       13. Between February 2022 and June 11, 2024, wire transfer data for the above
Tremont Street addresses with known aliases show there were approximately 277 wire
transfers from the United States to Mexico, for an aggregate approximate amount of
$258,014.
       14. Despite the significant amount of money being sent to Mexico, in reviewing
financial records, it does not appear AVALOS-MEJIA has any legitimate income in
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Arizona and California.
                          June 8, 2023: Arizona Train Burglary
       15. On June 8, 2023, your Affiant participated in the arrest of Eduardo Meza
while he was burglarizing an eastbound BNSF train just west of Flagstaff, Arizona.
When Eduardo Meza was encountered, he attempted to elude police. However, he was
arrested after a brief foot pursuit. Subsequently, agents recovered approximately 600
pairs of Nike shoes that were stolen from a BNSF Train. When interviewed, Meza told
your Affiant that he has participated in several BNSF train burglaries and gave details of
how different groups burglarize BNSF trains. Meza stated AVALOS-MEJIA is a boss
that oversees several train burglary groups. Further, Meza shared that AVALOS-MEJIA
has scouts that locate trains to burglarize, and those scouts contact AVALOS-MEJIA who
then makes the decision as to which BNSF trains to burglarize.
       16. Law enforcement reviewed the contents of Meza’s telephone and found
several messages supporting Meza’s statement. Several WhatsApp text messages were
sent between Meza and a contact listed as “Pollo,” an alias of AVALOS-MEJIA. These
messages included exchanges of pictures of property that appears to be stolen from a
BNSF train, to include Nike shoes and several different types of electronics.
Additionally, your Affiant also observed several other WhatsApp messages between Meza
and Pollo coordinating meeting locations and transportation in Northern Arizona,
appearing to be in support of BNSF train burglaries.
                            July 11 – 12, 2023: Train Burglary
       17. On July 11 and July 12, 2023, your Affiant participated in an operation where
agents observed individuals burglarizing BNSF trains near Flagstaff, Arizona. During
that operation, there were three separate pursuits of suspects that were attempting to evade
law enforcement after they had burglarized an Eastbound BNSF train.
       18. Edwin Rubio Damian and Cruz Antonio Garcia Zamora were subsequently
observed loading 904 boxes of Turtle Beach Stealth Pro Headsets, worth approximately
$596,621.92, from the BNSF railway East of Flagstaff, Arizona, into a big landscaping
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style truck and transport the merchandise to a Motel 6 in Flagstaff, Arizona.
       19. Damian and Zamora were subsequently arrested on state of Arizona burglary
charges and the above stolen property was recovered.
       20. Your Affiant obtained several recorded calls from Enforcement and Removal
Operations (ERO) made and received by Damian. Flagstaff Police Department Detective
Carlos Leyva translate the calls from the Spanish language to the English language and
below is a summary of the calls:
              a. An individual, identified as “Gael,” tells Damian the other day “Luis”
                 called him stating that Pollo told him that we needed to pay for the vehicle
                 they lost. Your Affiant believes, based on the known facts and context,
                 that AVALOS-MEJIA is holding Damian responsible for losing vehicles
                 recovered during the law enforcement pursuits on July 11 and 12, 2023,
                 near Flagstaff, Arizona.
              b. Gael stated Luis told him that Pollo needed them to pay the $11,000 for
                 the Lexus and other vehicle.
              c. Damian told Gael they can help pay for some of the cost but not the total.
                 He mentioned paying $1,700 each. Damian mentions Pollo owes them
                 $600 each for the Lexus.
                     February 2024: Recovery of Train Theft Vehicle
       21. In February of 2024, a blue Jeep Wrangler was encountered by Arizona
Department of Public Safety Troopers near Flagstaff, Arizona, during a BNSF train
burglary event. Your Affiant later learned the occupants of the blue Jeep Wrangler were
identified as being contacted and/or arrested by law enforcement during other BNSF train
burglaries.
       22. On April 4, 2024, the same blue Jeep Wrangler was recovered by the Los
Angeles Police Department Vehicle Theft Taskforce from a residence located at 2119
Raymond Street, Los Angeles, California, which is the same address AVALOS-MEJIA
has used as a cellular phone subscriber address for several prepaid cellular devices.
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                            March 1, 2024: Train Theft
       23. Your Affiant learned the following from Navajo County Sheriff’s Office
(NCSO) Detective Sergeant Wayne Lesperance regarding a March 1, 2024, BNSF
burglary:
            a. On March 1, 2024, the Navajo County Sheriff’s office interrupted a train
               burglary in progress between Winslow, Arizona, and Joseph City,
               Arizona. A call for service came from a citizen near the BNSF tracks,
               and they observed several pick-up trucks dropping off multiple
               individuals who were then observed cutting the locks on the containers
               being transported on a BNSF train.
            b. At the time the five BNSF train burglars were arrested, they were driving
               a Nissan pickup. Several of the burglars were wearing camouflage gear
               and had burglary tools, such as bolt cutters and grinders within the Nissan
               pickup. Agents recovered six boxes of Disney NBC Jack Squish that
               was stolen from the BNSF train before the interruption.
            c. A video from a nearby business captured a white Ram Rebel and a black
               Ram TRX driving back and forth at a high rate of speed after dropping
               off individuals that subsequently burglarized the BNSF train.
            d. It was believed at the time of the burglary, the black Ram TRX was in the
               control of AVALOS-MEJIA. It appeared that the white Ram Rebel and
               a black Ram TRX were attempting to distract law enforcement from
               arresting the five BNSF train burglars.
       24. During the arrest of the five BNSF train burglars, NCSO dispatch received a
911 call from AVALOS-MEJIA’s cellular number. During the call, AVALOS-MEJIA
claimed someone in a white SUV pointed a gun at him on the Interstate and he needed a
law enforcement response.
       25. It is your Affiant’s belief that AVALOS-MEJIA was attempting to distract
or redirect law enforcement away from the BNSF burglary events by placing a false 911
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call for service.
                                  March 15, 2024: Train Theft
        26. On March 15, 2024, your Affiant arrested Deni Misraim Baez-Trejo and
Erubiel Fierro Trejo near Flagstaff, Arizona, while transporting $84,000 worth of stolen
Nike shoes that were stolen from a BNSF train. During an interview of Baez-Trejo he
offered the following:
              a. Baez-Trejo stated that Pollo offered him $500 to transport merchandise
                    that was stolen from a BNSF train and during that time Pollo was driving
                    a black Ram TRX.
              b. Baez-Trejo stated that he was present during the burglary event on March
                    1, 2024. Baez-Trejo stated Pollo was also present during the March 1,
                    2024, BNSF burglary event, and Pollo was driving a black Ram TRX.
                                       April 13, 2024: Train Theft
        27. On April 13, 2024, your Affiant arrested Francisco Javier Arana Nieblas after
a foot pursuit over several lanes of traffic on Interstate 40 near Flagstaff, Arizona.
Nieblas was possessing and transporting 1,188 pairs of stolen Nike shoes worth $225,720
in a GMC box truck with a fake, temporary California license plate. The Nike shoes were
stolen from an Eastbound BNSF train in New Mexico.
        28. Your Affiant reviewed Nieblas’s cellular telephone and learned the
following:
              a. On March 18, 2024, Nieblas sent a WhatsApp message to AVALOS-
                    MEJIA, stating “This is the truck” along with an image of a counterfeit
                    California temporary license plate of XE05725.      On the counterfeit
                    license plate, VIN 1GDJG31R6V1078648 was visible. Your Affiant
                    reviewed pictures of the counterfeit license plate sent to AVALOS-
                    MEJIA and the pictures of the GMC box truck Nieblas was arrested in
                    and your Affiant believes they are the same vehicle based on the color
                    and condition of the bumper in both pictures.
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             b. On March 19, 2024, an individual only identified as “Leo” sends a
                WhatsApp message to Nieblas stating, “Can I bring you oil for Pollo’s
                TRx.”      Your Affiant believes this is another message showing that
                AVALOS-MEJIA was in control of the black Ram TRX during the March
                1, 2024, burglary of a BNSF train. On March 23, 2024, Nieblas shared
                his location with AVALOS-MEJIA, which was near Joseph City,
                Arizona.
       29. Your Affiant checked open-source mapping for that shared-location and
learned it is an offramp on Interstate 40 and is approximately 650 feet away from the
BNSF tracks. Your Affiant believes that AVALOS-MEJIA and Nieblas’ only reason to
be along the Interstate 40 along the BNSF tracks is in furtherance of BNSF train burglaries.
       30. BNSF Special Agent Derrick Porter told your Affiant that on March 23, 2024,
BNSF air support spotted merchandise on the ground near Winslow, Arizona, but there
was no report regarding the recovery of that merchandise. Special Agent Derrick Porter
also told your Affiant that on March 23, 2024, there were several BNSF train doors open
near east of Winslow, Arizona, toward Joseph City, Arizona. However, the train master
would not stop the train to verify if containers were burglarized.
       31. A cellular phone tracker warrant for a Cellular Telephone in use by
AVALOS-MEJIA was sought and approved by the United States District Court in
Flagstaff, Arizona on April 17, 2024, and expired on May 31, 2024.
       32. Your Affiant analyzed the tracking details from the Cellular Telephone data
during the above time and learned that the Cellular Telephone in use by AVALOS-MEJIA
had been active near several BNSF train burglaries.
                        April 23, 2023: California Train Burglary
       33. As an example, on April 23, 2023, California Highway Patrol Detective Chris
Garot told your Affiant he was surveilling approximately fifteen suspects that were in
control of several stolen vehicles. The tracking data associated with AVALOS-MEJIA
placed him at this event. During surveillance, he observed the fifteen suspects staging on
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the BNSF railway in the Cajon pass near Victorville, California.
       34. Detective Garot told your Affiant that during the surveillance, AVALOS-
MEJIA arrived with other unidentified suspects and was in control of a stolen Grey Audi
Q8. Detective Garot told your Affiant that once the BNSF train arrived at the location
where the fifteen suspects were staged, the train stopped, and he observed the fifteen
suspects get on the train and attempt burglarize it. Detective Garot told your Affiant that
a police helicopter spooked the suspects, so they got off the train and attempted to depart
the area.
       35. Detective Garot told your Affiant when they attempted to interdict the fifteen
suspects, and after several pursuits, they apprehended six suspects, but AVALOS-MEJIA
evaded police. Your Affiant later learned that it appeared several members of a BNSF
train burglary crew got on the BNSF train in Riverside, California, and when the BNSF
train neared the fifteen suspects, the riders on the BNSF train disabled the train by cutting
an air hose which made the train go into an emergency stop and allowed the above suspects
access to the BNSF train at the location they wanted.
                           May and June 2024: Stolen Vehicles
       36. Detective Garot told your Affiant that over the last month they have
conducted surveillance of approximately twenty stolen vehicles that appear to be in the
control of AVALOS-MEJIA and members of his BNSF train burglary crew. Detective
Garot told your Affiant that during those surveillance operations, he has observed
AVALOS-MEJIA in approximately three separate stolen vehicles.
       37. Detective Garot has surveilled AVALOS-MEJIA on approximately ten
separate times while AVALOS-MEJIA and other suspects were following BNSF trains in
California.   BNSF Special Agent Porter told your Affiant that during the above
surveillances, there were several attempted BNSF train burglaries.
                           May 7, 2024: Merchandise Transport
       38. Detective Garot told your Affiant that agents had a tracking device on a
known bus that has been used to transport stolen merchandise from BNSF trains.
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Detective Garot told your Affiant that on May 7, 2024, pings from the above tracking
device were at a US Storage facility located at 6655 Atlantic Avenue, Long Beach,
California. Detective Garot shared that when investigators went to the above US Storage
facility, they learned AVALOS-MEJIA had a storage unit that was no longer active due
to failure to pay the bill and that storage unit was now empty.
       39. AVALOS-MEJIA rented the storage unit in the name of Manuel Zamorano-
Rameriz, which is a known alias for AVALOS-MEJIA. Detective Garot obtained a copy
of a picture of the Mexican driver’s license used to rent the storage unit. The
identification was in the name of Manuel Zamorano-Rameriz with a picture resembling
AVALOS-MEJIA and that identification was counterfeit.
       40. Additionally, Detective Garot obtained a picture taken by US Storage
depicting AVALOS-MEJIA when they rented it to him. AVALOS-MEJIA was wearing a
hat with the initials “JGL” with the number “701” with colors of the Mexican flag.
Your Affiant knows that JGL are the initials for Joaquin Guzman Loera, a.k.a. Chapo
Guzman. Your Affiant knows that 701 refers to the rank Joaquin Guzman Loera once
held on Forbes list of the world’s richest people. Your Affiant knows Joaquin Guzman
Loera was the head of the Sinaloa Cartel. However, he has since been convicted in the
United States for several United States Code violations and was sentenced to life
imprisonment without the possibility of parole plus 30 years. Based on your Affiant’s
training and experience, I know that individuals who idolize narco lore such as JGL 701
and or the criminal elements surrounding narco lore, are usually involved in similar
conduct.                  June 20, 2024: Take Down and Apprehension
       41. On June 20, 2024, California local law enforcement agencies in conjunction
with California HSI agents executed search warrants at 11 residences and 16 storage units
related to the ongoing train burglaries and vehicle thefts in California and Arizona.
             a. As a result of law enforcement’s execution of the residential search
                warrants mentioned above, approximately 43 suspects were arrested.
                Additionally, law enforcement seized approximately 41 vehicles, 700
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                pounds of methamphetamine (including liquid methamphetamine and the
                chemicals to refine methamphetamine), 17 firearms, and thousands of
                dollars’ worth of miscellaneous merchandise believed to have been stolen
                from BNSF trains.
             b. As result of the storage unit search warrants, law enforcement seized
                approximately $3,000,000 of merchandise believed to have been stolen
                from BNSF trains.
       42. During the June 20, 2024, attempted apprehension of AVALOS-MEJIA,
AVALOS-MEJIA led law enforcement on a four-hour pursuit that started in a vehicle and
continued after AVALOS-MEJIA bailed out on foot in a mountainous area and
successfully evaded law enforcement on foot.
       43. At the same location AVALOS-MEJIA initially fled from, a search warrant
was executed, and agents recovered from 74 stolen Nike cases, 108 packs of Nike socks
and 35 pairs of individual Nike Shoes, worth a total of $94,659. Agents also seized
approximately ten stolen vehicles known to have been used in prior BNSF train burglaries,
as well as several firearms.
       44. AVALOS-MEJIA was also seen several times prior to the take down at a dirt
lot located at 1110 2nd Street, San Bernardino, California.
             a. This address is a known location where BNSF train burglar crews’ stage
                prior to going out to burglarize trains and an ending point where stolen
                train merchandise is staged.
             b. During the June 20, 2024, take down operation, a search warrant was
                served at the 1110 2nd Street address and agents seized approximately
                100 boxes of merchandise stolen from a BNSF train. Agents also seized
                a box truck that has been used to transport merchandise that was
                burglarized from a BNSF train. Inside the seized box truck was more
                merchandise that had been stolen from a BNSF train.
       45. In connection with the June 20, 2024, take down operation, law enforcement
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encountered and interviewed Raquel Ruiz Torres. Agent Porter, who was involved in the
takedown operation, told your Affiant the following information regarding the interview:
            a. Torres has known Pollo for about one year and they currently have a
                romantic relationship.   Torres said she was first introduced to Pollo
                through Xiochi Ibarra at the fruit and juice restaurant in Compton,
                California where Ibarra works. Torres said she learned, through Ibarra,
                that Pollo makes his money by breaking into trains. Torres stated she
                believed there were Nikes shoes at her residence.
            b. Torres stated that Pollo had brought the Nike shoes into her house and hid
                cash behind her bed.
       46. On June 20, 2024, in connection with the take down operation described
above, law enforcement executed a search warrant at Torres’s residence in Compton,
California, and seized $10,000.00 in cash and numerous boxes of stolen Nike shoes.
       47. On June 20, 2024, in connection with the take down operation described
above, law enforcement encountered and interviewed Xochi Apolonia Guerrero Corrales.
Agent Porter told your Affiant the following about the interview:
            a. Corrales told agents she has known Pollo for nine years. Corrales stated
                Pollo comes to her business often, sometimes by himself and other times
                with other individuals. Corrales described one individual who associates
                with Pollo as “Poncho,” who is identified as Erik Saenz. Corrales stated
                she knows Saenz because he has a baby in common with her daughter.
            b. Corrales stated when Pollo comes to her business, he drops off money for
                her to hold. Corrales stated Pollo pays her one hundred dollars each time
                he drops off money. Corrales stated Pollo comes to her business very
                often to drop money off for her to hold. Corrales stated she has been
                holding money for Pollo for about the last nine months. Corrales stated
                Pollo forces her to hold the money.
            c. Corrales stated she is afraid of Pollo because he has killed people in the
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                   past, and she is afraid he will kill her.
       48. That same day, law enforcement also executed a search warrant of Corrales’s
residence and seized approximately $75,000 in bulk United States currency from
Corrales’s safe.
       49. Pursuant to additional warrants served and executed during the June 20, 2024,
take down operation, agents seized what is believed to be a stolen white Ram Rebel and a
stolen black Ram TRX. Your Affiant believes the stolen black Ram TRX is the same
vehicle believed to be in the control of AVALOS-MEJIA during several BNSF burglary
events in Arizona described above, including those burglaries occurring on March 1,
March 15, and March 23, 2024.
       50. On June 21, 2024, agents located AVALOS-MEJIA along with Eric Saenz
and Justin Correa at a restaurant in Huntington Park, California. Agents arrested the three
subjects after Correa attempted to flee on foot.               During the arrests agents seized
approximately $100,000 bulk United States currency that was in their possession.
       51. Detective Garot was involved in the June 21, 2024, apprehension of the above
listed subjects, and told your Affiant the following information regarding their arrests:
             a. Agents located AVALOS-MEJIA along with Saenz, Correa, and a fourth
                   unidentified Hispanic male at a restaurant in Huntington Park, California.
                   A Spanish speaking undercover agent went inside the restaurant and
                   overheard the four above individuals in what appeared to be a meeting.
                   The undercover agent also overheard conversation about something that
                   happened “yesterday,” June 20, 2024. Your Affiant believes they were
                   talking about the attempted apprehension of AVALOS-MEJIA as well the
                   execution of several search warrants.
             b. When agents approached the restaurant, the unidentified Hispanic male
                   walked out the front door of the restaurant while AVALOS-MEJIA,
                   Saenz, and Correa walked out the side door of the restaurant. Once agents
                   attempted to apprehend the four subjects, Correa attempted to flee on foot
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                 while carrying a Louis Vuitton bag. Agents pursued Correa for several
                 blocks until he was apprehended in a store. Agents located the same
                 Louis Vuitton bag next to where Correa was arrested. A search of the
                 bag revealed keys to a stolen vehicle that was parked near the restaurant
                 and approximately $120,000 in bulk United States currency.                Also
                 located within the Louis Vuitton bag was a detailed ledger that
                 listed Nike and other merchandise that is typically burglarized from
                 BNSF trains, as well as dollar amounts detailing what the merchandise
                 is worth and for what it is sold.
       52. Based on the seizures and all the above-mentioned evidence, AVALOS-
MEJIA has acted as the leader of these burglar crews. Aside from directing the crews,
both in person and through cellular communication, he has also supplied vehicles, paid
the crews, and facilitated the sale of the merchandise stolen from Arizona trains.

                                       CONCLUSION
       53. For these reasons, your Affiant submits that there is probable cause to believe
Felipe Arturo AVALOS-MEJIA committed the crime of Possession or Receipt of Goods
Stolen from Interstate Shipment, Aid and Abet, in violation of Title 18, United States Code
(U.S.C.) §§ 659 and 2.
       54. I declare under penalty of perjury under the laws of the Unites States of
America that the forgoing is true and correct.
                    06-23-2024
CHRIS FOSTER
Special Agent
Homeland Security Investigations

Sworn to and subscribed electronically this 23rd day of June, 2024.
Camille D. Bibles Digitally signed by Camille D. Bibles
                  Date: 2024.06.23 16:32:27 -07'00'

HONORABLE CAMILLE D. BIBLES
United States Magistrate Judge
